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                        UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA,                  CASE NO. 13CR4483

                       Plaintiff,
                vs.                        JUDGMENT OF DISMISSAL
CHRISTOPHER NUNEZ,

                       Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

     an indictment has been filed in another case against the defendant and
     the Court has granted the motion of the Government for dismissal of
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

__
 x __ the Court has granted the motion of the Government for dismissal,
     without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal: or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

     of the offense(s) as charged in the Information:

     21:952 and 960: 18:2 - Importation of Methamphetamine; Aiding and

     Abetting

          IT IS THEREFORE ADJUDGED that the                        hereby discharged.


 DATED: 1/28/14
                                           Karen   Crawford
                                           U.S. Magistrate Judge
